
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-1522



                                  SHARON C. FOSTER,

                                Plaintiff, Appellant,

                                          v.

                        JOHN H. DALTON, SECRETARY OF THE NAVY,

                                 Defendant, Appellee.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

                [Hon. Raymond J. Pettine, Senior U.S. District Judge]
                                          __________________________
                                 ____________________

                                        Before

                        Selya, Cyr and Stahl, Circuit Judges.
                                              ______________

                                 ____________________


               Robert B. Mann, with  whom Mann &amp; Mitchell was on brief, for
               ______________             _______________
          appellant.
                Jennifer H.  Zacks, Attorney,  U.S. Dep't of  Justice, with
                __________________
          whom   Frank  W.  Hunger,  Assistant  Attorney  General,  Sheldon
                 _________________                                  _______
          Whitehouse,  United  States  Attorney,  and  Marleigh  D.  Dover,
          __________                                   ___________________
          Attorney, U.S. Dep't of Justice, were on brief, for appellee.

                                 ____________________

                                  December 11, 1995

                                 ____________________





















                    SELYA,  Circuit Judge.   Plaintiff-appellant  Sharon C.
                    SELYA,  Circuit Judge.
                            _____________

          Foster, an African-American woman, sued the Secretary of the Navy

          on  the ground  that  the Newport  Naval Hospital  (the Hospital)

          denied her a job due to her race.1   Following a bench trial, the

          district court rendered judgment for the Secretary.  Although the

          record  makes it painfully clear that this episode is light years

          away  from the Navy's finest  hour, we have  no principled choice

          but to affirm.

          I.  BACKGROUND
          I.  BACKGROUND

                    The  subsidiary  facts  are  largely undisputed.    The

          United States  Navy maintains a substantial  presence in Newport,

          Rhode  Island.    In the  summer  of  1989,  the appellant  found

          civilian employment at the Naval War College.  Seeking to advance

          through  the  ranks,  she  assiduously applied  for  other,  more

          attractive jobs in the  Newport naval establishment.  Since  most

          facilities located at  the base  adhered to a  policy of  filling

          vacancies  by  selecting  internal  candidates  (i.e., candidates

          already employed within the particular facility)  where possible,

          the appellant  had no luck  until the  Hospital hired her  as its

          professional affairs coordinator.  She  reported for duty in July

          of 1990.

                    Shortly  after   the  appellant  came  on   board,  the

          Hospital's director of administration, Commander  William Travis,

          sought  to fill a newly created opening for a management analyst.

                              
          ____________________

               1The  Secretary is the appropriate defendant in this type of
          action.  See 42 U.S.C.   2000e-16(c) (1988).
                   ___

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          Because he  believed that available funding  would be jeopardized

          if the position  remained open  at the start  of the next  fiscal

          year  (October 1,  1990),  Commander Travis  eschewed the  hiring

          procedure ordinarily used to recruit civilian staff and undertook

          a  non-competitive  search.   This  process  consisted mainly  of

          culling  the names  of  aspirants for  advancement from  existing

          files  and  assembling a  list  of potential  candidates.   Staff

          personnel compiled  a roster  of five such  candidates (including

          the  appellant).  As among  the five nominees,  the appellant was

          twice distinguished:  she was the only non-Caucasian and the only

          person already  employed at  the Hospital.   Thus,  had Commander

          Travis  adhered  to  the  usual  policy  of  preferring  in-house

          aspirants, the appellant   who was plainly qualified for the post

            would have been selected.

                    When  George  Warch,  the Hospital's  civilian  program

          specialist,  presented Commander  Travis  with  the list,  Travis

          inquired  why  James Berry's  name was  omitted  from it.   Warch

          informed Travis that Berry   Warch's "fishing buddy" and Travis's

          acquaintance     could not  be  offered employment  at  the grade

          specified for  the position.   Travis promptly directed  Warch to

          rewrite  the job  description,  specify a  lower grade  (at which

          Berry  would  be eligible),  and generate  a  new list.   Leaving

          little  to chance, Travis  also decreed  that candidates  for the

          position should have certain  computer expertise   expertise that

          Berry possessed   and intimated that he would invoke the Veterans

          Readjustment Act (VRA), 38  U.S.C.   4214 (1988 &amp;  Supp. V 1993),


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          in filling the management analyst vacancy.2

                    The modified job description  yielded a fresh list with

          only one name on it:  James Berry.  Although Warch mused that the

          revisions made it  appear that the powers-that-be had connived to

          preselect Berry  for the  vacancy, Travis brushed  these concerns

          aside and named Berry to the management analyst position.

                    In the wake of  Berry's hiring, the appellant  filed an

          administrative  complaint  with  the   Navy,  alleging  that  the

          Hospital had discriminated against  her on the basis of  her race

          and gender.  Receiving no satisfaction, she brought suit in Rhode

          Island's  federal  district  court,  charging  discrimination  in

          contravention of Title VII  of the Civil  Rights Act of 1964,  42

          U.S.C.    2000e (1988).  Following a  bench trial that focused on

          allegations of race discrimination,3  the district court ruled in

          the Secretary's  favor.   The court  thought  that the  appellant

          proved a prima  facie case, see Foster v. Secretary  of the Navy,
                                      ___ ______    ______________________

          No. 93-0509,  slip op. at  12 (D.R.I.  Apr. 13,  1995), and  also

          thought  that she  was  better qualified  for  the position  than

          Berry, see id. at 8.  But the court determined that the Secretary
                 ___ ___
                              
          ____________________

               2Under  the  VRA,  veterans  receive preference  in  certain
          governmental employment.   See,  e.g., Jakes v.  Veterans Admin.,
                                     ___   ____  _____     _______________
          793  F.2d 293, 295  (Fed. Cir. 1986)  (elucidating VRA preference
          system); see also Keyes v. Secretary of  the Navy, 853 F.2d 1016,
                   ___ ____ _____    ______________________
          1020-21  (1st   Cir.  1988)  (discussing   veterans'  preferences
          generally); 5 C.F.R.    307.102(a) (1995) ("Federal agencies have
          the responsibility  to provide the maximum of  employment and job
          advancement  opportunities to eligible veterans  . . .  .").  Not
          coincidentally, Berry had served in the United States Navy. 

               3The   appellant  did   not  press   her  claim   of  gender
          discrimination at trial,  and does  not seek to  resurrect it  on
          appeal.  The claim is therefore waived.

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          had successfully rebutted  the prima facie  case by proffering  a

          nondiscriminatory, if unsavory, reason  for the personnel action:

          preselection of a friend of  the appointing officer.  See id.  at
                                                                ___ ___

          14.    Overriding  Travis's  and Warch's  pious  assurances  that

          cronyism  played  no  role  in  Berry's  recruitment,  the  court

          concluded that this was a near-classic case of an old boy network

          in  operation,  but  not  a  situation in  which  the  employment

          decision was motivated by racial animus.4  This appeal ensued.

          II.  ANALYSIS
          II.  ANALYSIS

                    The  district  court wrote  a  thoughtful, meticulously

          reasoned opinion dealing  with many of the  same contentions that

          Foster voices on appeal.  Having carefully explored the nooks and

          crannies of the case,  we affirm the judgment essentially  on the

          basis  of Judge Pettine's rescript.  We embellish only in certain

          limited respects.

                    First:   We start at a  high level of generality.   The
                    First:
                    _____

          appellant does not seriously dispute the district court's account

          of  the facts,  but vigorously  attacks the  inferences that  the

          court saw fit  to draw from  them.  Although  she denies it,  her

          jeremiad essentially asks  that we reweigh the  evidence de novo,

          and substitute a new  set of inferences for the  inferences drawn

                              
          ____________________

               4Though  entering judgment  in  the  Secretary's favor,  the
          district  court  expressed its  distaste  for Commander  Travis's
          ichthyophagous hiring  practices.  Among other  things, the court
          chastised Travis for  his "ignorance of EEO  hiring policies, his
          calloused attitude toward the hiring of  minorities, and the fact
          that  he  rejected  [Warch's]  pre-selection  concern  .  . .  ."
          Foster,  slip op.  at 14.   The court's  criticism appears  to be
          ______
          well-founded.

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          by the  trier.   Our standard of  review, however,  is much  more

          circumscribed.

                    Following a  bench trial, an appellate  tribunal is not

          warranted  in substituting  its judgment  for that  of  the trial

          court.   This rule is composed of equal parts of common sense and

          practical wisdom:  it is difficult to gain a full appreciation of

          a  fact-sensitive  controversy  from  a  paper  record,  and  the

          district judge  ordinarily  has had  the  benefit of  seeing  and

          hearing the  witnesses in  person.   Hence,  we are  not free  to

          reject  either his findings of  fact or the  conclusions he draws

          therefrom unless they are clearly erroneous, that is, "unless, on

          the whole of the record, we form a strong, unyielding belief that

          a mistake has been  made."  Cumpiano v. Banco Santander P.R., 902
                                      ________    ____________________

          F.2d 148, 152 (1st Cir. 1990).  Findings concerning an employer's

          intent  are subject to review under this standard, and can be set

          aside only for clear error.  See id. (citing authorities).
                                       ___ ___

                    This  case is  troubling in  that we,  if writing  on a

          pristine page, might well have  reached a different conclusion as

          to the impetus behind the  refusal to hire.  But that is  not the

          test.   See Keyes v. Secretary  of the Navy, 853  F.2d 1016, 1027
                  ___ _____    ______________________

          (1st  Cir. 1988).  While the record, read objectively, shows that

          the   district   court  could   have   drawn   an  inference   of

          discriminatory intent, it does not show that such an inference is

          compelled.  That  raises the  stakes appreciably.   It is  common

          ground  that,  "when  there  are  two permissible  views  of  the

          evidence, the factfinder's choice  between them cannot be clearly


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          erroneous."  Johnson v.  Watts Regulator Co., 63 F.3d  1129, 1138
                       _______     ___________________

          (1st  Cir. 1995) (citing Anderson  v. City of  Bessemer City, 470
                                   ________     ______________________

          U.S. 564, 574 (1985)).  So it is here.

                    Second:  Turning to  specifics, the appellant says that
                    Second:
                    ______

          preselection (which,  according to the court  below, dictated the

          adverse   employment   decision)    occurred   only   after   the

          decisionmaker learned  that the management analyst  post would go

          to  an African-American woman, virtually by default, if he failed

          to adopt an alternative means of candidate selection.  This  is a

          plausible rendition of  the facts, but  not the only  permissible

          one.  Though  Berry's name first surfaced  after Commander Travis

          received an  initial list, Travis  could well  have expected  all

          along  to  see Berry  in that  lineup  and, when  his  hopes were

          dashed,  attempted to regain  lost ground by  altering the rules.

          Because  both scenarios  are plausible,  we will not  disturb the

          trial judge's choice between them.  See Johnson, 63 F.3d at 1138;
                                              ___ _______

          Cumpiano, 902 F.2d at 152; Keyes, 853 F.2d at 1019-20.
          ________                   _____

                    Third:   The appellant  insists that Commander Travis's
                    Third:
                    _____

          abandonment  of the  Hospital's wonted  policy of  preferring in-

          house candidates  itself gives rise to  an irresistible inference

          of racial  animus.  The  appellant weaves a  complicated tapestry

          with  the threads of this argument, hinting that the policy often

          operated  in  the  past   to  exclude  minority  candidates  from

          elevation, thus making the  Hospital's disregard of it in  a case

          where  that policy would redound  to the advantage  of a minority

          candidate all the more cruel.  In her view, this abrupt departure


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          from past practice  can only be explained on  the basis of racial

          bias.  We do not agree.

                    The   district   court   treated  this   departure   as

          suspicious,  but  concluded  that  Commander  Travis tweaked  the

          ordinary  praxis  to benefit  a friend  rather  than to  thwart a

          person  of color.  Two obvious  propositions spring to mind.  One

          is  that cronyism is deplorable, especially when it is allowed to

          infect  public sector  employment decisions.   The  other obvious

          proposition  is that Title VII does not have a limitless remedial

          reach.  An  employer can hire one  person instead of  another for

          any reason, fair  or unfair, without transgressing  Title VII, as

          long as the hiring  decision is not  spurred by race, gender,  or

          some  other protected  characteristic.   See Keyes,  853  F.2d at
                                                   ___ _____

          1026.   As we explain infra, Title VII does not outlaw cronyism  
                                _____

          and,  in this  case, cronyism  provides a  sufficient alternative

          explanation for the challenged deviation from the standard hiring

          protocol.  Thus, the district court's assessment of the proffered

          evidence was not clearly erroneous.

                    Fourth:     At   trial,  Commander   Travis  stalwartly
                    Fourth:
                    ______

          maintained  that he hired Berry because he was the best qualified

          aspirant.     Judge   Pettine   understandably  discounted   this

          testimony.   See  Foster,  slip  op.  at  14-15.    Although  the
                       ___  ______

          appellant concedes that a court is not legally bound to find  for

          a Title  VII plaintiff simply  because it rejects  the employer's

          proffered reason for an  employment decision, she maintains that,

          here,  the court's disbelief of the explanation, coupled with the


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          deviation  from  the  standard  policy  of  in-house  preferment,

          compels an inference that the decision was race-driven.  To shore

          up this contention, the appellant points to the  naval officials'

          repeated  denials of favoritism.   Noting that the district court

          declined to credit these  denials because they were self-serving,

          see id. at 14, the appellant asseverates that, since preselection
          ___ ___

          was the only alternative rationale that could sidetrack a finding

          of racial  discrimination, the district court  erred; the denials

          of  preselection were,  in fact,  against self-interest,  and the

          employer should be held to them.

                    This argument is too clever by half.  We do not believe

          it  is implausible that veteran  bureaucrats   and,  in our view,

          "bureaucrat" and "naval officer" are not mutually exclusive terms

            would deny preselection to avoid the stigma of having failed to

          follow neutral  hiring procedures.  Indeed,  Travis's and Warch's

          on-the-stand  denials  are  replete  with clues  from  which  the

          district judge  reasonably could  have deduced that  the two  men

          collogued to  tilt the process in Berry's favor.5  In all events,

          actions speak louder than words.  In a bench trial "what an actor

          says is not conclusive on a state-of-mind issue.  Notwithstanding

          a  person's disclaimers, a contrary state of mind may be inferred

          from what he does and from a factual mosaic tending  to show that

          he really meant to accomplish that which he professes not to have

          intended."    Anthony v.  Sundlun, 952  F.2d  603, 606  (1st Cir.
                        _______     _______
                              
          ____________________

               5To  cite  one  example,  Warch admitted  that  he  proposed
          invoking  the VRA  as  a means  to  getting Berry's  name  to the
          forefront.

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          1991).

                    In one sense, the district  court's finding that an old

          boy  network was  in  operation though  the  old boys  denied  it

          amounts to a credibility call.  By and large, such  calls are for

          the district court, not for the court of appeals.  See, e.g., id.
                                                             ___  ____  ___

          (warning  that  the  court  of  appeals  "ought  not  to  disturb

          supportable  findings, based  on witness  credibility, made  by a

          trial judge who has seen and heard the witnesses at first hand").

          There is no reason to apply a different rule in this case.

                    Fifth:  The appellant  argues passionately that even if
                    Fifth:
                    _____

          Commander  Travis fished  Berry  from the  applicant pool  simply

          because he  was spawned  by the old  boy network,  such a  hiring

          decision itself  contravenes the  mandate of  Title VII.   Though

          this construct, which rests  on the premise that cronyism  is the

          primary means by which  employers perpetuate workplace apartheid,

          possesses a certain superficial appeal, it cannot withstand close

          perscrutation.

                    Indeed, the construct lacks any vestige of precedential

          support.  The very cases on which the appellant relies explicitly

          reject it.  See, e.g.,  Holder v. City of Raleigh, 867  F.2d 823,
                      ___  ____   ______    _______________

          825-26  (4th  Cir.  1989) (rebuffing  plaintiff's  assertion that

          nepotistic hiring practices, even  when denied by defendant under

          racially   charged    circumstances,   constitute   impermissible

          discrimination under Title VII); Autry v. North Carolina Dep't of
                                           _____    _______________________

          Human Resources, 820 F.2d  1384, 1385 (4th Cir.  1987) (similar).
          _______________

          Thus,  her argument amounts to  nothing more than  a plea that we


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          impose  the construct  by judicial  fiat.   But  that is  not our

          province.   Given  the state  of the  law, appellant's  construct

          should  be debated  before  the Congress,  not argued  before the

          courts.

                    Relatedly, the  appellant suggests that  Title VII must

          be read  to bar  cronyism because  that  tawdry practice  assures

          continued white domination in the workplace.  But this suggestion

          challenges   as  discriminatory   a  facially   race-neutral  (if

          offensive)  policy, and  necessarily  depends for  support on  an

          examination  of multiple  hiring  decisions.   It is,  therefore,

          better tailored to cases alleging  disparate impact as opposed to

          disparate  treatment.  See Autry, 820 F.2d at 1385; see generally
                                 ___ _____                    ___ _________

          Furnco  Constr. Corp. v. Waters, 438 U.S. 567, 575, 579-80 (1987)
          _____________________    ______

          (explaining  the  basic  dichotomy between  disparate  impact and

          disparate treatment);  cf. EEOC v. Steamship  Clerks Union, Local
                                 ___ ____    ______________________________

          1066,  48 F.3d 594, 606  (1st Cir.) (holding  in disparate impact
          ____

          case  that a policy of nepotism can, under certain circumstances,

          constitute evidence of race discrimination in  employment), cert.
                                                                      _____

          denied, 116 S. Ct. 65 (1995).
          ______

                    Where, as  here, a  disappointed applicant has  made no

          systematic effort  to prove pervasive  cronyism or  to show  that
                                      _________

          cronyism,  when practiced  in a  particular workplace,  regularly

          yields a racially discriminatory result, a disparate impact claim

          goes by the  boards.   So here:   at trial, appellant's  counsel,

          responding   to  the  district  court's  insightful  questioning,

          characterized the suit as  one involving disparate treatment, not


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          disparate impact.   That characterization binds  the appellant in

          the present venue as well.

                    This  brings us full circle.   While the  facts of this

          disparate   treatment   case   can   support   an  inference   of

          discriminatory  intent, they  can  equally support  a finding  of

          undiluted favoritism,  unmixed with  racial animus.    On such  a

          record, it  is the trial court's prerogative   indeed, its duty  

          to  select the inference that  it deems appropriate.   Because we

          cannot accept the appellant's  invitation to create a presumption

          that  the use of an old boy  network in hiring constitutes per se

          racial discrimination,  we are powerless to  subvert the district

          court's election between conflicting inferences.

          III.  CONCLUSION
          III.  CONCLUSION

                    We  need go no further.6   Title VII  "does not presume

          to  obliterate all manner of inequity, or to stanch, once and for

          all,  what  a Scottish  poet  two centuries  ago  termed `[m]an's

          inhumanity to man.'"   Keyes,  853 F.2d at  1026 (quoting  Robert
                                 _____

          Burns, Man Was  Made to Mourn (1786)).  Like  the court below, we
                 ______________________

          find  the conduct  of  the naval  hierarchy in  this  case to  be

          deserving  of opprobrium,  but two  wrongs seldom  make a  right.

          Discerning no  clear error in  the district court's  finding that

          favoritism,    not    racism,    tainted    Commander    Travis's

          decisionmaking, we reject Foster's appeal.

                              
          ____________________

               6This appeal concerns only  Foster's claims under Title VII.
          We  take no  view  of  what  remedies, if  any,  federal  law  or
          regulations   governing  personnel   practices  may   afford  the
          appellant to redress this seeming injustice.

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          Affirmed.  No costs.
          Affirmed.  No costs.
          ________   ________




















































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